Case:18-10965-TBM Doc#:42 Filed:03/09/18          Entered:03/09/18 09:47:46 Page1 of 2



                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                           )      Chapter 11
                                         )
Debtor.                                  )


MOVANT’S CERTIFICATE OF CONTESTED MATTER WITH RESPECT TO THE
APPLICATION TO EMPLOY CBRE, INC. AS BROKERAGE FIRM FOR THE ESTATE
AND REQUEST FOR HEARING


        On February 19, 2018, Debtor-in-Possession, 11380 Smith Rd LLC (“Movant”), filed
an Application to Employ CBRE, Inc. as Brokerage Firm for the Estate. Movant hereby
certifies as follows:

       1.     Service of the application, all documents attached thereto and proposed order
were timely made on all parties against whom relief is sought and those otherwise entitled
to service pursuant to the FED.R.BANKR.P. and the L.B.R. as is shown on the certificate of
service, L.B. Form 9013-1.2, previously filed with the motion/application on February 19,
2018.

         2.    The docket numbers for each of the following relevant documents are:
               a.    the motion and all documents attached thereto and served therewith,
                     (Docket No. 14);
               b.    the certificate of service of the motion and all documents attached
                     thereto and served therewith, notice and proposed order, (Docket No.
                     14);
               c.    the proposed order, (Docket No. 14); and

      3.    An Objection to the Application was filed by 11380 East Smith Rd Invest-
ments, LLC on March 5, 2018 (Docket No. 31).

       4.     Movant believes that resolution of this contested matter will require an
evidentiary hearing. Movant estimates that the hearing will require approximately one (1)
hour for hearing.

         WHEREFORE, Movant prays that the court set this matter for hearing.
Case:18-10965-TBM Doc#:42 Filed:03/09/18   Entered:03/09/18 09:47:46 Page2 of 2



DATED: March 9, 2018

                                  Respectfully Submitted,

                                  WEINMAN & ASSOCIATES, P.C.



                                  By: /s/ Jeffrey A. Weinman
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